1

2

3

4                             UNITED STATES DISTRICT COURT

5                            EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                      No. 2:06-CR-00441-09-GEB
8                       Plaintiff,
9            v.                                     ORDER
10   VIRGILIO PINEDA,
11                      Defendant.
12

13                  On December 22, 2015, Defendant Virgilio Pineda filed,

14   in pro per, a motion for modification of his sentence under 18

15   U.S.C.       § 3582(c)(2).      (ECF    No.     564.)        Specifically,         Defendant

16   argues       the   retroactive    post-sentencing                reduction    of   his   base

17   offense level justifies a reduction of his sentence.

18                  On July 26, 2016, the Office of the Federal Defender

19   filed    a     notice   stating    it     “will        not       file   a    supplement    to

20   defendant’s pro se motion[.]” (ECF No. 566.)

21                  The   government        shall     file        a    written     response     to

22   Defendant’s motion within thirty (30) days of the date on which

23   this Order is filed.

24   Dated:       July 28, 2016

25

26
27

28
                                                1
